            Case 4:07-cv-05944-JST Document 3284-1 Filed 12/23/14 Page 1 of 3




 1   Kenneth A. Gallo (pro hac vice)
     Joseph J. Simons (pro hac vice)
 2   Craig A. Benson (pro hac vice)
     PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
 3   2001 K Street, NW
     Washington, DC 20006-1047
 4   Telephone: (202) 223-7300
     Facsimile: (202) 204-7420
 5   Email: kgallo@paulweiss.com
     Email: jsimons@paulweiss.com
 6   Email: cbenson@paulweiss.com

 7   Stephen E. Taylor (SBN 058452)
     Jonathan A. Patchen (SBN 237346)
 8   TAYLOR & COMPANY LAW OFFICES, LLP
     One Ferry Building, Suite 355
 9   San Francisco, California 94111
     Telephone: (415) 788-8200
10   Facsimile: (415) 788-8208
     Email: staylor@tcolaw.com
11   Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation and
13   Sharp Electronics Manufacturing Company of America, Inc.
14

15                                    UNITED STATES DISTRICT COURT

16                                 NORTHERN DISTRICT OF CALIFORNIA

17                                         SAN FRANCISCO DIVISION
18

19   In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-5944 (SC)
     LITIGATION
20                                                              MDL No. 1917

21   This Document Relates To:                                  DECLARATION OF GARY R.
                                                                CARNEY IN SUPPORT OF
22   Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   PLAINTIFFS’ ADMINISTRATIVE
     Case No. 13-cv-1173 SC;                                    MOTION TO FILE DOCUMENTS
23                                                              UNDER SEAL
     Sharp Electronics Corp., et al. v. Koninklijke
24   Philips Elecs., N.V., et al., Case No. 13-cv-2776
     SC.
25

26

27
28

            DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
             PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E): CASE NO. 07-5944-SC; MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3284-1 Filed 12/23/14 Page 2 of 3




 1   I, Gary R. Carney, hereby declare as follows:

 2          1. I am a Counsel with the law firm of Paul, Weiss, Rifkind, Wharton & Garrison LLP, counsel

 3   for Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America,

 4   Inc. (collectively, “Sharp”). I am a member of the bar of the State of New York and I am admitted to

 5   practice before this Court pro hac vice.

 6          2. I submit this Declaration in support of Sharp’s Administrative Motion to File Documents

 7   Related to Sharp’s Opposition to Defendants’ Motion for Partial Summary Judgment on Statute of

 8   Limitations Grounds Under Seal. I have personal knowledge of the matters set forth herein and, if

 9   called as a witness, I could and would testify competently to them.

10          3. The following exhibits and portions of Sharp’s Opposition to Defendants’ Motion for Partial

11   Summary Judgment on Statute of Limitations Grounds (“Sharp’s Opposition to MSJ re SOL”) contain,

12   discuss, analyze, or directly reference information designated by other parties as “Confidential” or

13   “Highly Confidential” pursuant to the Protective Order entered in the above-captioned case:

14
                            DOCUMENT                          PAGE:LINE REF. OR EXHIBIT NOS.
15
            Sharp’s Opposition to MSJ re SOL              3:26 – 5:16
16                                                        13:24-28
                                                          14:7-13
17
            Declaration of Gary R. Carney in Support      Exhibits C-R and T
18          of Sharp’s Opposition to MSJ re SOL

19

20          4. All of the information subject to this administrative motion to file under seal has been
21   designated “Confidential” or “Highly Confidential” by defendants Hitachi Electronic Devices (USA);
22   MT Picture Display Co., Ltd.; Panasonic Corporation; Samsung SDI; Toshiba America Electronic
23   Components, Inc.; or Toshiba Corporation under the Stipulated Protective Order entered in this case.
24   Plaintiffs seek to submit the above material under seal in good faith in order to comply with the
25   Protective Order and this Court’s Local Rules.
26          5. Pursuant to the Local Rules (revised November 1, 2014), the party or parties designating the
27   materials referenced above “must file a declaration as required by subsection 79-5(d)(1)(A) establishing
28
                                                        -1-
            DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
             PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E): CASE NO. 07-5944-SC; MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3284-1 Filed 12/23/14 Page 3 of 3




 1   that all of the designated material is sealable.” Civ. L.R. 79-5(e)(1). Plaintiffs are prepared to file the

 2   documents referenced above that have been designated “Confidential” or “Highly Confidential” by the

 3   Designating Parties in the public record “[i]f the Designating Party does not file a responsive declaration

 4   as required by subsection 79-5(e)(1) and the Administrative Motion to File Under Seal is denied.” Civ.

 5   L.R. 79-5(e)(2).

 6          I declare under penalty of perjury under the laws of the United States of America that the

 7   foregoing is true and correct.

 8

 9          Executed this 23rd day of December, 2014, in New York, New York.

10
                                                                    /s/ Gary R. Carney
11                                                                      Gary R. Carney
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27


                                                      -2-
            DECLARATION OF GARY R. CARNEY IN SUPPORT OF PLAINTIFFS’ MOTION TO FILE DOCUMENTS UNDER SEAL
             PURSUANT TO CIVIL LOCAL RULES 7-11, 79-5(B), AND 79-5(E): CASE NO. 07-5944-SC; MDL NO. 1917
